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                                    PETER G. EIKENBERRY
                                      75 Maiden Lane, Room 402
                                      New York, New York 10038
                                        CELL: (917) 596 4168
                                       Pete@eikenberrylaw.com



                                                                    August 20, 2020

 By email
 The Honorable Pamela K. Chen
 Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                       Roe v. St. John’s University and Doe, 19-CV-04694 (PKC)

 Dear Judge Chen:
        I write as attorney for plaintiff Roe in the above styled action. As Your Honor is aware,
 defendant St. John’s University’s Rule 12(b)(6) motion to dismiss is now fully briefed.
 Defendant Doe has duly moved in support of St. John’s motion. Both plaintiff and defendant St.
 John’s requested oral argument in their motion papers, but neither has written pursuant to Your
 Honor’s Rule 3. Therefore, I write to seek oral argument. I also request that the arguments with
 each defendant be separate.
        Respectfully requested,


        Peter G. Eikenberry




        cc Michael Valentine, Esq.
        Lyle Zuckerman, Esq.
        Melissa Carvalho, Esq.
        Chardaie C. Charlemagne, Esq.
